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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                              Plaintiff,                 Civil Case No. 20-2935


                      v.


 STEPHANIE WINSTON WOLKOFF
                              Defendant.



                   DEFENDANT STEPHANIE WINSTON WOLKOFF’S
                      MOTION TO DISMISS THE COMPLAINT

               For the reasons stated in the attached Memorandum of Law, Defendant

Stephanie Winston Wolkoff, by and through her undersigned counsel, hereby moves pursuant to

Rule 12(b)(6) of the Federal Rules of Civil Procedure to dismiss the Complaint filed in this

action on October 13, 2020 (ECF No. 1).

               Pursuant to LCvR 7(f), Defendant requests oral argument on this Motion.

               WHEREFORE, Defendant Stephanie Winston Wolkoff, by and through her

undersigned counsel, respectfully requests that this Court grant this Motion, and dismiss the

Complaint in its entirety and with prejudice.
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Dated: December 21, 2020           Respectfully submitted,
       Washington, DC
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                                   CERTIFICATE OF SERVICE

               Pursuant to LCvR 5.4(c), I hereby certify that on December 21, 2020, I caused to be

electronically filed the foregoing Motion and accompanying Memorandum of Law using the Court’s

CM/ECF system, which will send notification of such filing to all attorneys of record.



                                                 /s/ Lorin L. Reisner
                                               Lorin L. Reisner (DDC Reg. No. 5630150)
